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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV21-3462-CAS(MAAx)                                                  Date   March 28, 2022
 Title             AL OTRO LADO, INC. v. IMMIGRATION AND CUSTOMS ENFORCEMENT; ET AL.



 Present: The                    CHRISTINA A. SNYDER, UNITED STATES DISTRICT JUDGE
 Honorable
                      Catherine Jeang                                                 Laura Elias
                        Deputy Clerk                                        Court Reporter / Recorder
                Attorneys Present for Plaintiffs:                      Attorneys Present for Defendants:
                          Jeremy Jong                                                 Paul La Scala
 Proceedings:                 ZOOM SCHEDULING CONFERENCE

       Hearing held by Zoom and counsel are present. The Court confers with counsel as
to the parties’ Joint Report, as stated on the record. Counsel are ordered to meet and
confer regarding stipulating to the dates in this action. Thereafter, submit a Stipulation
and Proposed Order to the Court for final approval. It is the Court’s preference that the
dates be shortened.




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                                                               Initials of Preparer                   CMJ




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